       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

     QUALITY BUILDERS CONSTRUCTION SERVICES, INC., and
                     JEZERIAH WEBB,
                        Appellants,

                                    v.

               RUSSELL JACOBS and CHERYL ABER,
                          Appellees.

                           No. 4D2024-0008

                           [August 22, 2024]

   Appeal of a nonfinal order from the Circuit Court for the Seventeenth
Judicial Circuit, Broward County; Fabienne Elizabeth Fahnestock, Judge;
L.T. Case No. CACE21-001840.

  Harry Malka of Malka &amp; Kravitz, P.A., Fort Lauderdale, for appellants.

  Michael L Cotzen of Cotzen Law, Aventura, for appellees.

PER CURIAM.

  Affirmed.

GROSS, DAMOORGIAN and CONNER, JJ., concur.

                          *          *          *

  Not final until disposition of timely filed motion for rehearing.
